  Case 18-20652       Doc 26   Filed 03/29/19 Entered 04/02/19 09:11:26                  Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:      18-20652
Cassie A Thompson                             )
                                              )                Chapter: 13
                                              )
                                                               Honorable Janet S. Baer
                                              )
                                              )                Kane
               Debtor(s)                      )

                   ORDER MODIFYING THE PLAN POST CONFIRMATION

       THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court
having jurisdiction, with due notice having been given to all parties in interest, the Court orders as
follows:

  IT IS HEREBY ORDERED THAT:

  1. The Debtor's plan is modified post-confirmation to defer the March 2019 trustee payment to the
end of the Plan and to suspend the trustee payments for April 2019 and May 2019,

  2. Debtor shall resume making the regular trustee payments in June 2019, and

  3. The new plan base is $25,650.




                                                           Enter:


                                                                    Honorable Janet S. Baer
Dated: March 29, 2019                                               United States Bankruptcy Judge

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